Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 1 of 60




            EXHIBIT C
            Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 2 of 60
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      George E. Norcross, III, Gregory B.       :
      Braca, and Philip A. Norcross,            :
                         Plaintiffs,            :
                                                :   IN THE COURT OF COMMON
                   vs.                          :   PLEAS OF PHILADELPHIA
                                                :   COUNTY
      Republic First Bancorp, Inc., Harry       :
      Madonna, Andrew B. Cohen, Lisa                November Term, 2022
      Jacobs, Harris Wildstein, Peter B.        :
      Bartholow, and Benjamin C. Duster,        :   No. 02195
      IV,                                       :
                                                :
                         Defendants.            :
                                                :
                                                :
                                                :

                  MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

I.         MATTER BEFORE THE COURT

           Before the Court is the Motion for Preliminary Injunction filed by Plaintiffs

     George E. Norcross, III, Gregory B. Braca, and Philip A. Norcross. Plaintiffs’

     Motion is necessitated by the illegal, inequitable and oppressive acts of the board of

     directors (the “Board”) of Defendant Republic First Bancorp, Inc. (“Republic First,”

     or the “Company”) specifically designed to entrench themselves in office and

                                              -1-
                                                                                  Case ID: 221102195
                                                                                Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 3 of 60




disenfranchise the Company’s shareholders, all to defeat Plaintiffs’ ongoing proxy

contest.

      Faced with Plaintiffs’ challenge to their control over the Company, the Board

members—defendants Harry Madonna, Andrew B. Cohen, Lisa Jacobs, Harris

Wildstein, Peter B. Bartholow, and Benjamin C. Duster, IV (the “Director

Defendants”)—adopted two self-serving schemes to take the election of directors

out of the shareholders’ hands where it belongs and disrupt Plaintiffs’ proxy contest.

First, after finally scheduling the long delayed 2022 annual shareholder meeting

where three board seats were up for election and with Plaintiffs’ request for a special

shareholder meeting to fill two Board vacancies pending, the Director Defendants

abruptly reduced the size of the Board from eight to six seats (the “Board

Entrenchment Scheme”) in a blatant attempt to prevent Plaintiffs from nominating

and/or supporting the nominations of—and the Company’s shareholders from

electing—up to four new directors, potentially seating half of the Board. Second, to

further tip the election in their favor and take away the shareholders’ voting rights,

Defendants also manipulated the process for shareholders to nominate director

candidates in bad faith, providing an unreasonably short window for nominations

and then rejecting Plaintiffs’ nomination of Mr. Braca (the “Rigged Nomination

Scheme”).




                                         -2-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 4 of 60




      Both the Board Entrenchment Scheme and the Rigged Nomination Scheme are

specifically designed to impinge on the voting rights of all of the Company’s

shareholders and undermine Plaintiffs’ right to contest the election of directors.

Pennsylvania courts have long recognized and protected a shareholder’s right to vote

(and the commensurate right to wage a proxy contest) as the most fundamental right

and privilege of the ownership of company stock. The shareholder franchise is the

bedrock of corporate democracy, constituting the primary way, via election of

directors, that owners of a corporation—the shareholders—control the direction their

corporation takes. Directors are not permitted to take actions (even if technically

legal) that curtail or impede the efficacy of this fundamental right.

      And, here, both the Board Entrenchment Scheme and Rigged Nomination

Scheme violate Pennsylvania law and the Company’s own bylaws. If implemented,

the Board Entrenchment Scheme will result in a lopsided six-member board with

three classes of one, two, and three members each. But 15 Pa. C.S. § 1724(b) requires

that, if a board is classified, the classes must be as equal as possible. Republic First’s

governing documents are in accord—Article II, Section 2 of the Company’s bylaws

require that the Board be divided into “three classes as nearly equal as possible.”

Likewise, the Rigged Nomination Scheme violates Pennsylvania law and Rule 14a-

8 promulgated under the Securities Exchange Act (the “Exchange Act”), which is

incorporated into the nomination of directors under both the Company’s Articles of


                                           -3-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 5 of 60




Incorporation and bylaws. Both the statute and the rule require that the deadline for

nominations be reasonable. Instead, in bad faith, Defendants set a short ten calendar

day deadline (including two intervening weekends and a federal holiday) not for any

legitimate business purpose but specifically to undermine Plaintiffs’ proxy contest

and nomination.

      Judicial relief is even more essential here not only because this Board has

violated fundamental shareholder rights, but also has woefully underperformed. The

Director Defendants have been responsible for a business strategy that has depleted

capital, stifled earnings and produced a stock price performance that is the worst in

the industry. Many of the Defendants sat by for years while shareholder value was

destroyed and resources were diverted to insiders and their associates.

      Defendants’ actions were designed to rig the election in favor of the

incumbent directors and prevent Plaintiffs from contesting the election of directors

and the shareholders from having a voice in the Company. Defendant’s blatant and

illegal acts of entrenchment in adopting the Board Entrenchment Scheme and the

Rigged Nomination Scheme cannot be allowed to stand where Plaintiffs have been

engaged in a proxy contest for the election of directors at the long delayed 2022

annual meeting, currently scheduled for January 26, 2023, and have sought a special

shareholder meeting to fill Board vacancies. Accordingly, Plaintiffs ask this Court

to enjoin Defendants from implementing the Board Entrenchment Scheme, or any


                                         -4-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 6 of 60




similar scheme that alters the Company’s bylaws or the size of the Board, until the

2022 annual shareholder meeting and a special shareholder meeting take place.

Likewise, Plaintiffs ask this Court to enjoin Defendants from effectuating the Rigged

Nomination Scheme.

      The 2022 annual meeting and election of Class III directors is scheduled to

take place on January 26, 2023.        Plaintiffs have sought approval from the

Pennsylvania Department of Banking to solicit proxies for that meeting and anticipate

that approval will be granted shortly after the end of the public comment period, set

to expire on December 8, 2022. Plaintiffs have attempted to resolve their conflicts

with Defendants and avoid burdening the Court with this motion, but those efforts

have proven unsuccessful. Accordingly, Plaintiffs request that the Court order

Defendants to respond to this Motion by December 12, 2022, and conduct a hearing

later that week, so that Plaintiffs (and all Company shareholders) will know the

number of Board seats up for election and Plaintiffs can move forward with their

proxy solicitation efforts sufficiently in advance of the January 26, 2023 annual

shareholder meeting.

II.   STATEMENT OF QUESTIONS INVOLVED
      1.     Should Defendants be enjoined from implementing their plan to reduce

the size of the Company’s board from eight to six seats, or taking any other similar

action to alter the size of the company’s board or amend its bylaws, when their plan


                                         -5-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 7 of 60




directly undermines Plaintiffs’ proxy contest and the voting rights of all the Company

shareholders?

       Suggested answer: Yes.

       2.      Should Defendants be enjoined from enforcing the unreasonably short

nomination deadline and refusing to accept Plaintiffs’ director nominations?

       Suggested answer: Yes.

III.   FACTUAL BACKGROUND

       A.      The Republic First Board and Governing Documents

       Republic First is a Pennsylvania corporation and the holding company for

Republic First Bank (“Republic Bank”). Compl. ¶ 2. Since at least 2009, the Board

has been composed of eight seats divided into two Class I directors, three Class II

directors and three Class III directors. Id. ¶ 57. Each class of directors is elected to

serve a three year term, with the class up for election rotating at each annual meeting.

Id. ¶ 3. The Class III directors are up for election at the 2022 annual shareholder

meeting. Id.

       The Company’s last annual shareholder meeting was held on April 27, 2021;

the 2022 annual shareholder meeting (and the election of the Class III directors) was

originally scheduled to occur in early May 2022. Id. ¶ 59. After the Board’s 2021

annual meeting, the directors were: defendant Madonna and non-party Brian Tierney




                                          -6-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 8 of 60




(Class I); defendants Jacobs, Wildstein and Cohen (Class II); and non-parties Vernon

W. Hill, II, Barry L. Spevak and Theodore J. Flocco, Jr. (Class III). Id. ¶ 2.

      Republic First is governed by its Articles of Incorporation and bylaws. The

key provisions for this case are as follows:

      Article II, Section 2 of the bylaws provides:

             The Board of Directors shall be divided into three classes
             as nearly equal as possible. The members of each class
             shall be elected for a term of three years and until their
             successors are elected and qualified. One class shall be
             elected by ballot annually. . . . A director need not be a
             citizen of the United States or a resident of the
             Commonwealth of Pennsylvania but must be a shareholder
             of the Corporation at the commencement of his term.

Id. ¶ 54; Compl. Exhibit 1 (Republic First bylaws).

      Article II, Section 7 of the bylaws states:

             Any vacancies in the Board of Directors, whether arising
             from death, resignation, removal or any other cause except
             an increase in the number of directors, shall be filled by a
             vote of the majority of the Board of Directors then in office
             even though that majority is less than a quorum. . . . In the
             event that at any time a vacancy exists in any office of a
             director that may not be filled by the remaining directors,
             a special meeting of the shareholders shall be held as
             promptly as possible and in any event within sixty (60)
             days, for the purpose of filling the vacancy or
             vacancies. . . .

Id. ¶ 55; Ex. 1.




                                         -7-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 9 of 60




      According to Article I, Section 2 of the bylaws:

             Special meetings of the shareholders for any purpose or
             purposes . . . may be called at any time (a) by the
             Chairman of the Board, (b) by the Board of Directors or
             (c) at the request in writing of shareholders entitled to cast
             at least twenty (20%) percent of the votes entitled to be
             cast at the meeting upon payment by such shareholders to
             the Corporation of the reasonably estimated cost of
             preparing and mailing a notice of the meeting (which
             estimated cost shall be provided to such shareholders by
             the Secretary of the Corporation) . . . .

Id. ¶ 53; Ex. 1.

      Finally, Article II, Section 4 of the bylaws (consistent with the Articles of

Incorporation) reads:

             Nomination by Shareholders. At all Annual Meetings of
             shareholders . . . any stockholder who desires to propose
             nominees to the Board of Directors must provide for the
             receipt of a written notice of the intention to nominate a
             person or persons for election as directors by the Secretary
             of the Corporation: (i) with respect to an election to be held
             at any annual meeting of shareholders in accordance with
             the provision of Rule 14a-8 . . . .

             The notice is required to contain: (i) the name and address
             of the shareholder who intends to make the nomination
             and of the person or persons to be nominated; (ii) a
             representation that the shareholder is a holder of record of
             stock entitled to vote at the meeting and intends to appear
             in person or by proxy at the meeting to nominate the
             person or persons specified in the notice; (iii) a description
             of all arrangements or understandings between the
             shareholder and each nominee and any other person or
             persons (naming such person or persons) pursuant to
             which the nomination or nominations are to be made by
             the shareholder; (iv) such other information regarding

                                          -8-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 10 of 60




             each nominee proposed by such shareholder as would
             have been required to be included in a proxy statement
             filed pursuant to the proxy rules of the Securities and
             Exchange Commission had each nominee been nominated
             or intended to be nominated, by the Board of Directors of
             the Corporation; and (v) the consent of each nominee to
             serve as a director of the Company if so elected. The
             chairman of any meeting of shareholders to elect directors
             and the Board of Directors may refuse to recognize the
             nomination of any person not made in compliance with the
             foregoing.

Id. ¶ 56; Ex. 1; see also Compl. Ex. 2 (First Republic Articles of

Incorporation), art. VII, § D (same).

      B.     The Company Has Been in an Extended Period of Turmoil.
      Since early December 2021, several significant investors in the Company

have publicly reported their dissatisfaction with the Board and management and their

desire to elect a slate of new independent directors to replace the incumbent directors

up for election at the Company’s 2022 annual meeting. Id. ¶ 60.

      On December 9, 2021, Republic First announced that it had received a letter

from Driver Management Company LLC and certain of its affiliates (“Driver”), an

investment management company that owned approximately 668,824 shares of the

Company’s stock, expressing Driver’s intent to nominate an alternative slate of three

candidates as directors in connection with the Company’s 2022 annual meeting. Id.

¶ 61; Exhibit 3 (December 9, 2021 Form 8-K). For months afterward, Driver and

the Company issued competing press releases and filings with the Securities


                                         -9-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 11 of 60




Exchange Commission (“SEC”) regarding Driver’s criticisms of the Board and

management and its efforts to elect its slate of directors, rather than the three

incumbent Class III directors up for reelection at the 2022 annual meeting. Id.

¶¶ 62–63; Exhibit 4 (January 14, 2022 PREN14A).

      On January 31, 2022, Plaintiffs and the Avery Conner Capital Trust (the

“Avery Trust”), for which Plaintiff Philip Norcross serves as a trustee, filed a Form

13D with the SEC, disclosing that they collectively owned 3,910,921 shares of

Company stock, amounting to approximately 6.6% of the Company’s outstanding

shares.   Id. ¶ 64; Exhibit 5 (January 31, 2022 Form 13D).           Through several

subsequent acquisitions, Plaintiffs and the Avery Trust increased their ownership to

5,706,583 shares, or approximately 9.6% of the Company’s outstanding stock. Id.

¶ 66; Exhibit 6 (February 10, 2022 Form 13D/A). On February 10, 2022, Plaintiffs

and the Avery Trust announced that they intended to, “independently and at [their]

own cost, file appropriate proxy materials and engage in activities that may

constitute solicitation under the SEC’s proxy rules in opposition to the Issuer’s three

Class III director nominees . . . and in support of the candidates (Peter B. Bartholow,

Pamela D. Bundy and Richard H. Sinkfield III) nominated by [Driver] for election

as Class III directors at the Issuer’s 2022 annual meeting of shareholders . . . .” Id.

¶ 67 (quoting Ex. 6).




                                         -10-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
        Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 12 of 60




        With two groups of significant shareholders criticizing the Company’s Board

and management, the Board erupted into two warring factions, with four directors

(defendants Madonna, Cohen, Jacobs and Wildstein, the “Madonna Faction”)

publicly accusing the other four (non-parties Hill, Flocco, Spevak and Tierney, the

“Hill Faction”) of entrenchment and undermining shareholder voting rights. Id.

¶ 68.    The Hill Faction responded that the Madonna Faction was making

intentionally false and misleading claims in an effort to undermine the Hill Faction’s

bids for reelection as directors because, according to Hill, Madonna and Cohen were

intent on selling the Company to further their own personal financial interests. Id.

¶ 69.

        The infighting among Board members resulted in significant upheaval at the

Company, prompting multiple lawsuits, including two filed by Plaintiffs based on

their concerns about the revelations being made by the Board members, and one by

Driver seeking to force the 2022 annual meeting to take place as scheduled in early

May 2022 so it could proceed with its proxy solicitations. Id. ¶ 70.

        The upheaval also caused the Company’s auditors to insist that an

investigation be conducted by independent counsel regarding the various

accusations made by the Board members before it would certify the Company’s 2021

financials. Id. ¶ 71. This delayed Republic First’s required SEC 2021 annual report

filing on Form 10-K and several subsequent 2022 quarterly financial reports on Form


                                        -11-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 13 of 60




10-Q, resulting in the Company receiving a notice from NASDAQ that it would be

delisted if it did not complete its required SEC filings. Id.

       In May 2022, one of the Hill Faction directors, Theodore Flocco, died. Id.

¶ 72. The Madonna Faction, now with the majority, immediately took advantage of

their former colleague’s death by holding a Board meeting and voting to replace Hill

with one of its members, defendant Madonna, as Chairman of the Board. Id. At that

point, the remaining members of the Hill Faction filed suit in federal court to block

the majority from holding meetings and taking action without a quorum of the Board.

Id. ¶ 73.

       On May 31, 2022, finding that the Madonna Faction had acted illegally,

oppressively and fraudulently, the federal court appointed esteemed Philadelphia

lawyer Alfred Putnam to serve as a custodian of the Company and hold a special

shareholder meeting to elect two new directors, one to replace Mr. Flocco and a new

ninth director to ensure that the Board would not be evenly split. Id. ¶ 74. Mr.

Putnam scheduled the special shareholder meeting and solicited nominations from

shareholders. Id. ¶ 75; Exhibit 7 (July 5, 2022 Schedule 14C). Plaintiffs submitted

Mr. Braca’s nomination to Mr. Putnam and Defendant Jacobs, the Company’s

secretary, including a statement that Plaintiff Philip Norcross was a record owner of

Company stock and including a letter from Mr. Norcross’ broker attesting that he

was record owner of 10,000 shares of Company stock. Id. ¶ 75; Exhibit 8 (June 21,


                                         -12-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 14 of 60




2022 nomination letter). The Company did not challenge Mr. Norcross’ record

ownership and accepted the nomination of Mr. Braca. Id.

      Plaintiffs also continued to pursue a books and records request they had

submitted to the Company before Mr. Putnam’s appointment. Id. n.3. Mr. Putnam

questioned the validity of the request sent on behalf of Plaintiff George Norcross—

a beneficial owner—citing Pennsylvania law defining “shareholder” as a record

owner. Id. In response, Plaintiffs sent a letter (cc’d to Defendant Jacobs in her role

as secretary) revising the request to come from Plaintiff Philip Norcross, including

a letter from his broker certifying that Mr. Norcross was a record owner of 10,000

shares of Company stock purchased on November 16, 2021. Id. Again, the

Company accepted Philip Norcross as a record holder and provided certain of the

books and records sought in the request. Id.

      Before the special meeting could take place, on July 6, 2022, the U.S. Court

of Appeals for the Third Circuit reversed the district court’s decision and upheld the

Madonna Faction’s right to appoint a new director to fill Mr. Flocco’s seat despite

the absence of a quorum under the Company’s bylaws. Id. ¶ 76. Immediately

thereafter, the Madonna Faction canceled the special shareholder meeting, declining

to give shareholders a say in the composition of their Board, and instead usurped

that important right and appointed Defendant Benjamin Duster to the Board as a new

Class III director. Id. ¶ 77; Exhibit 11 (July 11, 2022 Schedule 14A). In appointing


                                        -13-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 15 of 60




Defendant Duster, the Board touted his experience on Wall Street and with mergers

and acquisitions, giving credence to the Hill Faction’s claims that defendants

Madonna and Cohen were intent on selling the Company for their own personal

financial benefit. Id. ¶ 78. But, Defendant Duster’s appointment to the Board was

invalid from the outset, as he specifically violated Article II, Section 2 of the

Company’s bylaws, commanding that a director “must be a shareholder of the

Corporation at the commencement of his term.” Id. ¶ 77. Defendant Duster was not

a shareholder when he was appointed as a director and continued not to hold any

Company stock at least as late as October 25, 2022, as reported by the Company in

its recent SEC filings. Id.; Exhibit 12 (excerpt from Form 10-K)

      In any event, the three remaining members of the Hill Faction ultimately

conceded defeat and resigned. Id. ¶ 79. Hill and Spevak (the other two Class III

directors) resigned on August 9, 2022. Id. Tierney, the last Hill Faction director

(and a Class I director), followed on September 19, 2022. Id. This left three vacant

Board seats: two Class III seats (up for election at the 2022 annual meeting) and one

Class I seat. Id.

      C.     The Madonna Faction Entrenches Itself.
      While the litigation and infighting played out on the public stage, the

Company failed to file its annual report on SEC Form 10-K or schedule its 2022

annual meeting of shareholders. Id. ¶ 80. Plaintiffs and Driver continued to actively


                                        -14-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 16 of 60




pursue their proxy contests, criticizing the Board and management for the direction

of the Company and its abysmal financial and market performance, as well as its

lack of transparency. Id. ¶ 81.

      Plaintiffs continued to press for the election of new independent directors who

would change the direction of the Company and improve its performance. Id. ¶ 82.

After the Madonna Faction took control of the Board, Plaintiffs sought to actively

engage with the Board and increase their ownership in the Company above a 10%

limitation set forth in the Articles. Id. ¶ 85. Although Plaintiffs were initially

hopeful that the prevailing Madonna Faction would take positive steps to reverse

actions that had been taken before the Board’s implosion and to set the Company on

the right path, that did not happen. Id. ¶ 86. Instead, the Board continued to

mismanage the Company, resulting in a significant further reduction in Republic

Bank’s stock price and worsening of other financial metrics. Id. Further, the Board

has continued to rebuff advances made by Plaintiff to infuse capital into the

Company and provide much needed assistance in managing its affairs, including

through the appointment of Mr. Braca as CEO. Id.

      Indeed, since the Madonna Faction and Defendant Duster took control, the

Board has engaged in breaches of fiduciary duty designed to keep the shareholders

in the dark and retain control of the Company to benefit their own self-interests at




                                        -15-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 17 of 60




the expense of the Company and its shareholders. Id. ¶ 87. Among other things, the

Board took the following actions:

       a.    It named Madonna interim CEO and Executive Chairman;

       b.    It reported that the investigation demanded by the Company’s auditors
             was completed in August 2022, but has continually failed to report the
             findings or conclusions of the investigation;

       c.    It failed to timely file the Company’s required annual report and
             quarterly financial reports with the SEC, resulting in Republic First
             facing potential delisting from the NASDAQ exchange;

       d.    It failed to schedule any shareholder meeting (annual or special) to
             allow the shareholders to elect three Class III directors (whose terms
             should have ended by May 2022) and a Class I director despite repeated
             calls by Plaintiffs for special shareholder meetings for that purpose;

       e.    It reinstated Madonna’s employment contract with an increased salary
             and significant parachute payments (amounting to millions of dollars)
             in the event of certain change of control transactions, and delayed over
             one month in reporting that decision, in violation of SEC reporting
             rules; and

       f.    Immediately after reporting the employment arrangement with
             Madonna—providing him significant incentive to sell the Company—
             it announced the formation of a “strategic review” committee and its
             intent to engage with potential “transaction” partners, essentially
             conducting a fire sale while the Company’s assets are significantly
             impaired as a result of the Board’s abysmal investment and business
             decisions. The sale of the business would therefore only benefit the
             Director Defendants, particularly Madonna who would receive
             substantial payments upon a change of control, to the significant
             detriment of the Company and its shareholders.

Id. ¶ 88.

       In light of the Board’s failure to rectify the Company’s problems and its

apparent insistence on doubling down on Board entrenchment despite the Madonna

                                        -16-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 18 of 60




Faction deriding the Hill Faction for doing so, Plaintiffs renewed their challenges to

the Board’s actions and reiterated their intention to engage in a proxy contest and

promote alternative candidates to fill the vacant Board seats and other seats up for

election at the long-delayed 2022 annual meeting. Id. ¶ 89.

      For instance, on September 22, 2022, Plaintiffs publicly criticized the Board

for its inaction and entrenchment in a letter to the Board, emphasizing that the lack

of a shareholders’ meeting had allowed the directors to avoid facing accountability

from the Company’s shareholders well past the time the Class III directors should

have been subjected to a contested election. Id. ¶ 91; Exhibit 16 (September 22,

2022 Schedule 13D/A). Plaintiffs also reported that, in connection with Plaintiffs’

offer to infuse the Company with capital (as well as other proposals to benefit the

Company), the Board tried to impose a standstill agreement that would prohibit

Plaintiffs from nominating directors for election at the 2022 annual shareholders’

meeting. Id. ¶ 92.

      Driver likewise continued to make SEC filings critical of the Board,

particularly of its decision to install Madonna as interim CEO and provide him with

significant parachute payments in connection with a change of control transaction,

as well as the Company’s lack of transparency about the members of the strategic

review committee and whether Madonna had any role in the strategic review

process. Id. ¶ 93; Exhibit 17 (September 22, 2022 Schedule 14A).


                                        -17-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 19 of 60




      On October 4, 2022, the Board avoided one of its challenges—it announced

that it had made a deal with Driver to buy its silence and acquiescence to the Board’s

ongoing control of the Company in exchange for the Board’s agreement to appoint

Driver nominee Defendant Bartholow as a new Class III director (filling one of the

Hill and Spevak seats) and to pay Driver $925,000. Id. ¶ 94; Exhibit 18 (October 4,

2022 Form 8-K). This still left two vacant Board seats—one of the two Class III

seats vacated by Hill and Spevak on August 9, 2022, and the Class I seat vacated by

Tierney on September 19, 2022. Id. ¶ 95. Contrary to the dictates of Article II,

Section 7 of the Republic First bylaws, the Class III seat remained vacant for more

than 60 days with the Board failing to fill it and refusing to call a shareholders’

meeting for that purpose. Id.

      Accordingly, Plaintiffs delivered a letter to the Board requesting a special

shareholders’ meeting for two purposes: (1) adopting a resolution encouraging the

Board to revise Madonna’s employment agreement to eliminate the incentive to

engage in a change of control transaction; and (2) “[e]lecting two directors to the

board of directors of Republic First (the ‘Board’), one to serve as a Class I director

and one to serve as a Class III director until the annual meeting of shareholders at

which such director’s term expires and until the elections and qualifications of their

respective successors. The directors elected at the Special Meeting would fill the

Class I and Class III vacant seats as a result of the resignation of Brian P. Tierney


                                        -18-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 20 of 60




and the resignation of either Vernon W. Hill, II or Barry L. Spevak.” Id. ¶ 97;

Exhibit 20 (October 25, 2022 letter to the Board).

      D.    The Company Finally Files Its Form 10-K and the Election of
            Class III Directors at the Annual Meeting Becomes Imminent

      On October 24, 2022, the Company reported that the audit of its 2021

financials was finally complete but that it was awaiting a response from its former

auditor before it could file its belated 2021 Form 10-K. Id. ¶ 98. Recognizing that

they would finally have the opportunity to solicit proxies from fellow shareholders1

and nominate directors, at least for two of the three Class III seats, as well as

potentially support candidates nominated by other shareholders as they had with the

Driver nominees, Plaintiffs immediately sought books and records from the

Company, including shareholder information, so that their proxy solicitation firm

could contact fellow shareholders. Id. ¶ 99; Exhibit 21 (October 25, 2022 books and

records request).    Plaintiffs’ books and records request again included a

representation that Mr. Philip Norcross was a record owner of Company stock and a

letter from Mr. Norcross’ broker attesting to that fact. Id. Again, Defendants did

not challenge Mr. Norcross’s record ownership and expressly agreed to provide

certain of the requested documents subject to the entry of a confidentiality


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       Plaintiffs are in the process of obtaining approval from the Pennsylvania
Department of Banking to solicit proxies and expect that approval to be granted
shortly after the close of the public comment period on December 8, 2022. Norcross
Decl. ¶¶ 2–5.
                                        -19-
                                                                           Case ID: 221102195
                                                                         Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 21 of 60




agreement. Id. Since then, the confidentiality agreement has been fully executed

and the Company has provided shareholder lists to Plaintiffs’ proxy solicitation firm.

Id.; Norcross Decl. ¶ 12.

      On October 26, 2022, the Company finally filed its long overdue Form 10-K.

Compl. ¶ 100. With the filing of the Form 10-K, Defendants’ only stated obstacle

to scheduling the belated 2022 annual shareholders’ meeting was eliminated and the

Board would be forced to finally face the judgment of the Company’s shareholders.

Id. ¶ 101.

      On November 4, 2022, the Company announced that the 2022 annual

shareholders’ meeting would take place on January 26, 2023, almost nine months

after its originally scheduled date. Id. ¶ 104; Exhibit 25 (November 4, 2022 Form

8-K). Apparently recognizing that Plaintiffs’ proxy contest at the annual meeting

and the election of a Class I director pursuant to Plaintiffs’ special meeting demand

could result in the turnover of half the Board (assuming the Company’s shareholders

elected two new directors to fill the vacant Class I and Class III seats and replaced

the two existing Class III directors), the Director Defendants devised a plan to upend

the proxy contest and prevent the shareholders from exercising their right to elect

their chosen representatives for the Board. Id. ¶ 106.

      Rather than allow Plaintiffs to potentially nominate and/or advocate for—and

the shareholders to elect—up to four directors, the Board adopted the Board


                                        -20-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 22 of 60




Entrenchment Scheme, eliminating the Class I seat vacated by Tierney and the

remaining vacant Class III seat. Id. On November 7, 2022, the Company announced

that the Board would nominate incumbent directors, defendants Bartholow and

Duster, as Class III directors for election at the 2022 annual shareholders’ meeting

and revealed for the first time that, effective November 4, 2022, the Board chose to

reduce the size of the Board from eight members to six. Id. ¶ 107; Exhibit 26

(November 7, 2022 Form 8-K).

      Under federal banking regulations, as Defendants certainly know, the Board

Entrenchment Scheme would limit Plaintiffs’ ability to nominate directors to serve

on the Board from two to one, based on potential issues regarding “control” of

Republic Bank. Id. ¶ 108. It also would defeat the primary purpose of Plaintiffs’

pending special meeting request—the election of two directors to fill the two vacant

Board seats. Id. The Board’s decision to institute the Board Entrenchment Scheme

also came after the vacant Class III Board seat should have already been filled under

Article II, Section 7 of the Company’s bylaws through a shareholder election. Id.

      The Defendants had no legitimate basis to reduce the number of Board seats.

Id. ¶ 109. The Board Entrenchment Scheme does not solve the problem of a

potential deadlock on the Board, as there is still an even number of seats. Id. It does

not ensure oversight of management where, as here, all of the Board members are

beholden to Madonna, the interim CEO and Executive Chair. Id. And, the Board


                                         -21-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 23 of 60




Entrenchment Scheme does not maintain the equality among the classes of directors

(now with one Class I director, two Class III directors and three Class II directors)

mandated by the Company’s bylaws and Pennsylvania law. Id. Instead, the Board

Entrenchment Scheme was clearly designed to entrench the Company’s current

Board and prevent Plaintiffs and the Company’s other shareholders from electing

new independent directors to fill up to four of the eight Board seats through

Plaintiffs’ requested special shareholder meeting and the 2022 annual meeting,

thereby significantly changing the dynamics and direction of the Board and the

Company. Id. ¶ 110.

      At the time it was announced, the Board Entrenchment Scheme was only the

latest of the Director Defendants’ overreaching defensive measures taken to entrench

themselves at the expense of the franchise of the Company’s shareholders. Id. ¶ 113.

The Board Entrenchment Scheme followed the Director Defendants’ refusal to grant

Plaintiffs an exception to the Articles to allow them to purchase more of the

Company’s shares, extended delay in scheduling the 2022 annual meeting, refusal

to schedule a special meeting for the election of directors, cancellation of the special

meeting to fill Mr. Flocco’s seat scheduled by the court-appointed custodian,

suppression of opposition by buying off Driver with a Board seat and $925,000

payment, and attempt to prevent Plaintiffs from continuing their proxy contest in




                                         -22-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 24 of 60




exchange for considering their proposals to inject capital and otherwise benefit the

Company and its shareholders. Id.

      E. The Board Sets an Unreasonably Short Nomination Deadline and
         Refuses to Accept Plaintiffs’ Nomination.

      Defendants were still not done with their efforts to rig the director election

and undermine the shareholders’ rights to select the custodians of their company.

Id. ¶ 114. Defendant took yet another step to tilt the election in favor of the

incumbent directors, and prevent Plaintiffs from contesting the election of directors

and the shareholders from having a voice in the Company. Id.

      Pursuant to the Company’s November 4, 2022, notice setting the date for the

delayed 2022 annual shareholder meeting as January 26, 2023, Defendants imposed

an unreasonably short deadline for shareholders to submit director nominations—

November 14, 2022 (only ten calendar days later, including two intervening

weekends and a federal holiday). Id. ¶ 119. Despite having made the decision on

November 4, Defendants also changed the landscape part way through their

unreasonably short nomination period when they announced on November 7, 2022,

that only two seats, rather than three, would be up for election at the 2022 annual

meeting. Id. ¶ 107.

      Despite the shortened time period and the shifting goalposts, to ensure they

satisfied the Company’s demands, on November 11, 2022 (three days before the

deadline), Plaintiffs submitted Mr. Braca as their nominee for election to the Board
                                        -23-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 25 of 60




at the 2022 annual meeting. Id. ¶ 115; Exhibit 27 (November 11, 2022 notice of

nomination). As with multiple prior submissions to the Company and Board (two

books and records requests and the nomination of Mr. Braca in connection with the

special shareholder meeting ordered by the federal court), Plaintiffs attached a letter

from Plaintiff Philip Norcross’ broker asserting that Mr. Norcross is a record owner

of 10,000 shares of Company stock and has been since November 16, 2021. Id.

Plaintiffs also submitted their Schedule 13D filings with the SEC showing their

beneficial ownership of almost 10% of the Company’s shares. Id. The nomination

was submitted on time and contained all of the information required by the

Company’s Articles of Incorporation and bylaws. Id.

      On November 16, 2022, two days after the nomination deadline, Defendants

for the first time disputed Mr. Norcross’ record ownership of Company stock and

refused to accept the nomination of Mr. Braca for election to the Board. Id. ¶ 116;

Exhibit 28 (November 16, 2022 letter from Defendant Madonna to Philip Norcross).

Defendants did so to avoid a fair proxy contest, despite having accepted the very

same proof of Mr. Norcross’ record ownership, as evidenced by letters from his

broker, three times before without dispute and with full knowledge of the

Company’s internal records regarding its shareholders.         Id. ¶ 117.    Plaintiffs

believed, based on the representations of Mr. Norcross’ broker and Defendants’ prior

conduct and statements, that Plaintiff Philip Norcross was a valid record owner of


                                         -24-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 26 of 60




Company stock. Id. Defendants knew that Plaintiffs held that belief and induced

that belief despite having superior access to the Company’s official records. Id.

Defendants also failed to advise Plaintiffs of their new challenge to Mr. Norcross’

record ownership before the deadline to prevent Plaintiffs from being able to cure

any deficiency, by either obtaining records ownership or asking another record

holder to nominate Mr. Braca. Id. ¶ 118.

      Moreover, Defendants’ bad faith and improper purpose in imposing an

unreasonably short deadline for director nominations now became clear as yet

another in the long line of defensive measures taken by Defendants to entrench

themselves and derail Plaintiffs’ proxy contest and the shareholders’ right to vote in

a free and fair election. Id. ¶ 119. Under the Company’s Articles and bylaws, a

beneficial shareholder (rather than a record owner) may nominate directors by

complying with Rule 14a-8 under the Exchange Act. Id. ¶¶ 120, 56; Exs. 1, 2. Rule

14a-8 allows a beneficial owner (rather than a record holder) to nominate directors

if the shareholder owns at least $25,000 of stock for one year. Id. ¶ 120. The

statements from Mr. Norcross’ broker, submitted multiple times to Defendants, as

well as Plaintiffs Schedule 13D filings with the SEC, showed that Mr. Norcross

purchased 10,000 shares of Company stock (worth over $25,000) on November 16,

2021. Id. Defendants set the unreasonably short November 14, 2022, deadline for




                                        -25-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 27 of 60




nominations, not for any valid reason, but instead to foreclose Plaintiffs from

satisfying the one-year holding standard under Rule 14a-8 by two days. Id.

      Even assuming arguendo that Defendants did not set the nomination deadline

in bad faith with the intent to interfere with Plaintiffs’ ability to nominate directors

and influence the Board election, the deadline was unreasonable. The Company

delayed from March 17, 2022 to October 26, 2022 filing its 2021 annual report on

Form 10-K. Id. ¶ 123. It also failed to timely file any of its required 2022 quarterly

financial disclosures on Form 10-Q and filed none before the nomination deadline.

Id. In fact, it belatedly filed its first quarter Form 10-Q on November 18, 2022, four

days after the nomination deadline. Id. The Company still has not filed its belated

second and third quarter Form 10-Qs. Id. As of the November 14 artificial deadline

for nominations, Republic First shareholders were in the dark about the Company’s

financial status and its operations under the current Board and management—critical

information in determining whether to nominate other directors and who would be

the best candidates to address the Company’s business and financial needs. Id.

      Defendants’ only proffered excuse for setting the unreasonable and self-

serving nomination deadline was the Company’s alleged need to “print and send its

proxy materials for the 2022 Annual Meeting.” Id. ¶ 125 (quoting Ex. 25). Yet,

over the past five years, the Company has mailed its annual meeting proxy between




                                         -26-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
          Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 28 of 60




35 and 38 days before the scheduled meeting, meaning that the 2022 annual meeting

proxy will likely be printed and sent no sooner than December 19, 2022. Id.

          Thus, Defendants’ actions of setting a short deadline of ten calendar days after

the announcement of the 2022 annual meeting (while depriving shareholders of

required SEC financial information and with over two months before the meeting

date) is unreasonable and was done in bad faith to stifle Plaintiffs’ proxy contest and

ability to present viable alternate candidates for the Company’s shareholders to elect,

as well as a proxy contest by any other shareholder. Id. ¶ 126. By their actions,

Defendants have undermined Plaintiffs’ right to engage in a proxy contest, deprived

the Company’s shareholders of their rightful voice in the governance of the

Company, and sown chaos and confusion into the market. Defendants’ actions are

wrongful and constitute irreparable harm warranting the imposition of injunctive

relief.

IV.       ARGUMENT

          A.    The Board’s Actions are Inequitable and Impermissible as a
                Matter of Pennsylvania Law.

          Pennsylvania law recognizes that the right to vote is the most fundamental

right of ownership of company stock. See Reifsnyder v. Pittsburgh Outdoor Advert.

Co., 173 A.2d 319, 322 n.8 (Pa. 1961). The right to vote ensures corporate

democracy, the principle that the owners of a corporation should control the

direction that their corporation takes. Warehime v. Warehime, 777 A.2d 469, 481
                                            -27-
                                                                                 Case ID: 221102195
                                                                               Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 29 of 60




(Pa. Super. 2001), rev’d on other grounds, 860 A.2d 41 (Pa. 2004). While the

business judgment rule affords directors leeway in decisions they make in good faith

and with due care, and while directors may consider constituencies other than the

shareholders, neither provision can validate corporate actions designed to undermine

shareholders’ voting rights. Id. at 480. Pennsylvania courts will look to the inequity

of a corporate board’s actions and strike down measures that have as their purpose

or effect the curtailment of shareholders’ fundamental voting rights. See id. at 478;

Jewelcor Mgmt., Inc. v. Thistle Grp. Holdings, Co., 60 Pa. D. & C.4th 391, 406–07

(Phila. C.P. 2002).

      The right to wage a proxy contest and nominate directors is commensurate

with a shareholder’s right to vote and is therefore among the most fundamental rights

of ownership of company stock. See Jewelcor Mgmt., 60 Pa. D. & C.4th at 400,

406–07; Reifsnyder, 173 A.2d at 322 n.8. Thus, actions by directors designed to

undermine or thwart a shareholder’s right to engage in a proxy contest undermine

all corporate shareholders’ voting rights and are invalid. See Warehime, 777 A.2d

at 481. Defendants’ action in eliminating two Board seats, setting a short deadline

for shareholders to submit director nominations, and rejecting Plaintiffs’ nomination

of Mr. Braca for election to the Board are part and parcel of their scheme to entrench

themselves and rig the election to prevent the Company’s shareholders from having

their rightful say in the governance of Republic First.


                                         -28-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 30 of 60




      There is no legitimate basis for Defendants’ decision to reduce the number of

Board seats in advance of an imminent (and overdue) annual meeting, during an

active proxy contest with Plaintiffs. The Board Entrenchment Scheme does not

solve the problem of a potential deadlock on the Board. And, it violates the express

requirement of equality among the classes of directors mandated by Article II,

Section 2 of the Company’s bylaws and 15 Pa. C.S. § 1724(b). Defendants similarly

rigged the nomination process to frustrate Plaintiff’s proxy contest by setting an

unreasonably short deadline for nominations—one that Defendants knew fell two

days shy of Mr. Norcross’s one year ownership qualification under Rule 14a-8—and

by refusing to recognize Mr. Norcross as a record holder despite having done so

repeatedly before.

      The Board’s actions are clearly designed to entrench the Director Defendants

and prevent Plaintiffs and the Company’s other shareholders from electing new

independent directors to fill up to four of the eight Board seats, thereby significantly

changing the dynamics and direction of the Board and the Company. Defendants’

actions prevent Company shareholders from freely exercising their voting rights to

elect the three Class III directors who should have been installed seven months ago,

and a fourth director to fill the vacant Class I seat pursuant to Plaintiffs’ special

meeting demand.       Neither the Board Entrenchment Scheme nor the Rigged

Nomination Scheme serves any legitimate business, operational or governance


                                         -29-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 31 of 60




purposes. Their only purpose is to benefit and entrench the current Board, while

disenfranchising the shareholders the Board is supposed to protect. As such, the

Defendants’ actions are inequitable and impermissible.

      B.     Entry of a Preliminary Injunction Is Warranted

      Plaintiffs are entitled to a preliminary injunction to prevent the irreparable

harm they will suffer if the Rigged Nomination Scheme stands and the long delayed

2022 annual meeting is held with the Board Entrenchment Scheme in place. See Pell

v. Kill, 135 A.3d 764 (Del. Ch. 2016) (enjoining board plan to reduce the number of

board seats in the midst of a proxy contest); Jewelcor, 60 Pa. D. & C.4th at 396

(enjoining board from advancing date of shareholder meeting in the midst of a proxy

contest); Aprahamian v. HBO & Co., 531 A.2d 1204 (Del. Ch. 1987) (granting relief

where the board postponed the annual stockholders meeting only after discovery it

was likely to lose a proxy contest). Under Pennsylvania law, a plaintiff must satisfy

six factors to obtain preliminary injunctive relief:

             (1) the injunction is necessary to prevent immediate and
             irreparable harm that cannot be adequately compensated
             by damages;

             (2) greater injury would result from refusing an injunction
             than from granting it, and, concomitantly, that issuance of
             an injunction will not substantially harm other interested
             parties in the proceedings;

             (3) a preliminary injunction will properly restore the
             parties to their status as it existed immediately prior to the
             alleged wrongful conduct;

                                          -30-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 32 of 60




             (4) the activity the injunction seeks to restrain is actionable,
             that plaintiff’s right to relief is clear, and that the wrong is
             manifest, or, in other words, that plaintiff is likely to
             prevail on the merits;

             (5) the injunction is reasonably suited to abate the
             offending activity; and,

             (6) a preliminary injunction will not adversely affect the
             public interest.

Warehime, 860 A.2d at 46–47 (quoting Summit Towne Ctr., Inc. v. Shoe Show of

Rocky Mount, Inc., 828 A.2d 995, 1002 (Pa. 2003)). Plaintiffs meet each one.

      This case is very similar to both Jewelcor and Pell v. Kill where the courts

enjoined board action that was specifically designed to interfere with ongoing proxy

contests. In Jewelcor, Judge Herron of this Court granted a preliminary injunction

to bar a corporate board from advancing the date of the company’s shareholder

meeting to frustrate a shareholder proxy contest. 60 Pa. D. & C.4th at 396.

Specifically, the board of directors of Thistle Group Holdings Co. notified

shareholders that the company’s annual meeting would be held on April 17, 2002.

Id. at 394. After Jewelcor Management, Inc., an owner of 500 shares of Thistle

stock, notified Thistle it was nominating individuals for election to the board and

began soliciting proxies based on the April 17 date, the board moved the shareholder

meeting date to April 3, purportedly to avoid a lengthy proxy fight that would distract

from business. Id. at 395.




                                          -31-
                                                                                  Case ID: 221102195
                                                                                Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 33 of 60




      Jewelcor filed a complaint and moved for a preliminary injunction to prevent

the board from moving the meeting date earlier than April 17, which this Court

granted. Id. at 393. The Court found the board’s attempt to move the meeting date

was a blatant attempt to manipulate the election and interfere with the shareholder's

right to contest the election of directors. Id. at 396. The Court further held that the

board’s action, even though not illegal, was improper and inequitable, noting “[a]

corporation’s board of directors acts improperly when it manipulates a corporate

election to perpetuate its own control of the corporation.” Id. at 399. The Court

concluded that Jewelcor would be irreparably harmed by the earlier election date

and that the balance of the preliminary injunction factors weighed in Jewelcor’s

favor. Id. at 396.

      Likewise, in Pell v. Kill, Vice Chancellor Laster of the Delaware Chancery

Court enjoined a board reduction scheme very similar to the one the Director

Defendants adopted here. 135 A.3d at 769. In Pell, Cogentix Medical, Inc. had

scheduled its annual meeting for May 20, 2016. Id. at 768. Before the dispute that

led to the litigation, Cogentix, like Republic First, had eight board seats staggered

into three classes. Id. Approximately one month before the annual meeting, plaintiff

Lewis Pell publicly reported his intention to seek changes in the composition of the

board and management team, including unseating defendant Robert Kill. Id. at 769.

In response, the majority of the board (who were aligned with defendant Kill)


                                         -32-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 34 of 60




developed a strategy to shrink the size of the Board from eight seats to five and

reduce the number of Class I seats up for election at the annual meeting to one. Id.

Through the board reduction scheme, the board majority sought to preserve their

control over the board and neutralize the threat of Pell’s proxy contest. Id. Before

the reduction, the company’s stockholders had the opportunity to elect three

nominees to the Class I seats, potentially shifting the board majority to Pell. Id. By

reducing the number of Class I seats, the incumbent directors ensured that no matter

how the stockholders voted, the incumbent directors would retain a majority. Id.

Based on these facts, the Chancery Court ruled: “The problem is that when facing

an electoral contest, incumbent directors are not entitled to determine the outcome

for the stockholders. Stockholders elect directors, not the other way around. Even

assuming that the Defendant Directors acted for an unselfish purpose, they still acted

inequitably. A preliminary injunction shall issue enjoining the Company from

implementing the portion of the Board Reduction Scheme that otherwise would

become effective at the Annual Meeting.” Id. at 769–70

      In this case, the Board Entrenchment Scheme and the Rigged Nomination

Scheme are blatant efforts to frustrate Plaintiffs’ proxy contest, subvert the special

shareholder meeting request and prevent the Company’s shareholders from

exercising their voting rights to significantly alter the composition of the Board,




                                        -33-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 35 of 60




potentially electing new candidates to fill up to half the Board seats (three Class III

directors and one Class I director).

      In granting the injunction in Jewelcor, Judge Herron analyzed each of the

injunction factors and found that they favored issuing the injunction. 60 Pa. D. &

C.4th at 396–411. The exact same analysis applies to this case. Indeed, if anything,

the actions of the Director Defendants here are more egregious than in Jewelcor and

must be stopped through immediate injunctive relief.

   1) An Injunction Is Necessary to Prevent Immediate and Irreparable Harm
      Plaintiffs have no adequate remedy at law and the harm to them is immediate

and irreparable. As Judge Herron recognized in Jewelcor, “[i]nterference with a

shareholder’s election rights has been held to constitute immediate and irreparable

harm by courts both inside and outside the Commonwealth.” Id. at 408 (citing

International Banknote Co. v. Muller, 713 F. Supp. 612, 623 (S.D.N.Y 1989)

(“Courts have consistently found that corporate management subjects shareholders

to irreparable harm by denying them the right to vote their shares or unnecessarily

frustrating them in their attempt to obtain representation on the board of directors.”);

Treco, Inc. v. Land of Lincoln Sav. & Loan, 572 F. Supp. 1447, 1450 (N.D. Ill. 1983)

(“Due to the impending time constraints imposed by the October 26, 1983 annual

meeting, plaintiffs will suffer irreparable harm should the Court refuse to grant

immediate injunctive relief.”); Warehime, 777 A.2d at 469). Further, this Court


                                         -34-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 36 of 60




recognized that the right to solicit proxies for election of directors, in circumstances

similar to those presented here, is concomitant with a shareholder’s voting rights.

Jewelcor, 60 Pa. D. & C.4th at 400, n.6 (“It is possible to draw a distinction between

a shareholder’s right to vote in a board election, on the one hand, and the

shareholder’s right to field candidates and to solicit proxy votes in that election. The

Court finds this distinction meaningless in this case and will treat [Jewelcor’s] right

to solicit proxies and to field the Nominees as concomitant with its voting rights”).

      Likewise, in Pell, the Delaware Chancery Court found irreparable harm to the

plaintiff (and the company shareholders) from a Board Reduction Scheme just like

the one the Defendants have adopted here. Pell, 135 A.2d at 793. It explained:

             Courts have consistently found that corporate
             management subjects shareholders to irreparable harm by
             denying them the right to vote their shares. Harm of that
             nature must be prevented before a shareholders’ meeting
             in cases where, as here, any post-meeting adjudication
             might come too late.

Id. (internal citations omitted). The Pell court concluded that, absent an injunction,

the company’s stockholders would be prevented from exercising their voting rights

by electing three directors at the annual meeting. Id.

      Similarly, here, by pre-ordaining the results of the 2022 annual meeting, the

Board Entrenchment Scheme and Rigged Nomination Scheme deprive Plaintiffs of

their right to wage a proxy fight and shareholders of their right to vote. “This loss

of voting power constitutes irreparable injury.” Phillips v. Insituform of N. Am., Inc.,

                                         -35-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 37 of 60




C.A. No. 9173, 1987 Del. Ch. LEXIS 474, at *33, 1987 WL 16285, at *11 (Del. Ch.

Aug. 27, 1987).

      Courts have also found immediate and irreparable harm where boards

interfere with the nomination process for directors with knowledge of an ongoing or

potential proxy contest. See Lerman v. Diagnostic Data, Inc., 421 A.2d 906, 913

(Del. Ch. 1980) (invalidating the setting of an annual meeting 63 days in the future

where bylaws required stockholder nominations at least 70 days in advance of the

meeting because the board acted with “full knowledge of [the dissident’s]

intentions” to launch a proxy contest.); Hubbard v. Hollywood Park Realty Enters.,

C.A. No. 11779, 1991 Del. Ch. LEXIS 9, at *35 (Del. Ch. Jan. 14, 1991) (finding

enforcement of advance notice deadline for nominations inequitable where, after the

nomination deadline had passed, the leading dissident agreed to join the board and

abandoned its proxy contest).

      Here, the annual meeting is scheduled to take place in less than two months—

on January 26, 2023. Before Defendants adopted the Board Entrenchment Scheme,

Plaintiffs could have nominated two directors for election at the 2022 annual meeting

without risk of violating the federal banking regulations limiting a shareholder’s

ability to exercise “control” over a federal bank or its holding company. With the

reduction of the board to six seats, Plaintiffs are limited to one director nominee.

And now, the Board has thwarted even that single nomination through the Rigged


                                        -36-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
         Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 38 of 60




Nomination Scheme, by setting an unreasonably short deadline to submit

nominations and asserting, for the first time, that Mr. Norcross is not a record

shareholder despite recognizing him as one previously. The Board Entrenchment

Scheme and Rigged Nomination Scheme inhibit Plaintiffs’ ability to contest the

upcoming Board election and solicit proxies from their fellow shareholders.

         As in Jewelcor, this Court should have “little difficulty finding that

[Plaintiffs’] inability to involve itself in the corporate election process and to solicit

the proxy votes of other [company] shareholders constitutes immediate and

irreparable harm.” Jewelcor, 60 Pa. D. & C.4th at 409.

   2) Greater Injury Would Result from Refusing an Injunction and Issuance
      of an Injunction Will Not Substantially Harm other Parties
         Greater injury would result from refusing an injunction than granting it, and,

concomitantly, issuance of an injunction will not substantially harm other interested

parties in the proceedings. Defendants cannot establish any legitimate harm from the

issuance of an injunction to prevent the Board Entrenchment Scheme—the Company

has had eight Board seats for 15 years, and the Board Entrenchment Scheme does not

resolve any concern about potential Board deadlock since the Board would continue

to have an even number of seats. Further, a six member Board is far out of the norm

for the number of directors of a banking organization of this size (or almost any sized

bank).



                                          -37-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 39 of 60




      Nor does recognizing Mr. Norcross as a record shareholder harm Defendants.

Indeed, they have done so several times before. The Board has, therefore, waived

the right to challenge Mr. Norcross’ record ownership for purposes of nominating

director candidates.   See Elliott v. Lindquist, 52 A. 2d 180, 183 (Pa. 1947)

(determining that the stockholders waived compliance with bylaws by failure to

adhere to them on any prior instance); Golasa v. Struse, 9 Pa. D. & C.3d 48, 53 (Phila.

C.P. 1978) (citing Elliott, 52 A.2d at 180–83) (“Individual provisions of the bylaws

may be waived by the conduct of parties just as provisions of a contract[.]”).

      The Company has ample time to nominate additional directors to fill the two

Board vacancies that they attempted to eliminate by the Board Entrenchment

Scheme.    Defendants also have ample time to prepare the Company’s proxy

statement, since the Company’s usual practice shows that the proxy statement will

not be issued until late December in any event. And, the existing Class III directors

(defendants Duster and Bartholow) will not be impacted in their ability to run for

their seats.2 The “risk” that the Company’s shareholders may elect directors whom

the incumbents disfavor or oust incumbent directors up for election is no harm at all,

but rather the vindication of the shareholder franchise. See Aprahamian, 531 A.2d


2
       Defendant Duster has never been a valid director of the Company since he did
not own shares upon the commencement of his term in office in violation of the
Company’s governing documents. Accordingly, his nomination as an incumbent
director is invalid in any event so entering the requested injunction would actually
assist Defendants who will be able to make a valid nomination.
                                         -38-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 40 of 60




at 1208 (“The incumbent directors have no vested right to continue to serve as

directors and therefore will suffer no harm if they are defeated.”).

      Any minimal additional cost to the Company of paying two additional

directors is substantially outweighed by the harm to Plaintiffs’ right to contest the

election of directors and all Company shareholders’ right to substantially alter the

composition of the Board and direction of the Company. Indeed, “[s]hareholder

voting rights are sacrosanct. The fundamental governance right possessed by

shareholders is the ability to vote for the directors the shareholder wants to oversee

the firm.” EMAK Worldwide, Inc. v. Kurz, 50 A.3d 429, 433 (Del. 2012). “The

harm threatened here is to the corporate electoral process, a process which carries

with it the right of shareholders to a meaningful exercise of their voting franchise

and to a fair proxy contest with an informed electorate.” Packer v. Yampol, C.A.

No. 8432, 1986 Del. Ch. LEXIS 413, at *32, 1986 WL 4748, at *11 (Del. Ch. Apr.

18, 1986).

      Accordingly, there is far greater harm in denying the injunction than in

granting it and an injunction will not substantially harm other interested parties.

   3) A Preliminary Injunction Will Restore the Status Quo

      A preliminary injunction will also properly restore the parties to their status as

it existed immediately prior to the Defendants’ wrongful conduct. If the Court

enjoins Defendants from implementing the Board Entrenchment Scheme and the


                                         -39-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 41 of 60




Rigged Nomination Scheme, the parties will be returned to the status quo ante.

Plaintiffs’ special shareholder meeting request to fill the two vacant Board seats will

remain pending. The 2022 annual shareholder meeting will occur on January 26,

2023 as scheduled. Plaintiffs and other Republic First shareholders will be able to

nominate directors to fill the two Board vacancies and to run for the two incumbent

Class III director seats up for election at the 2022 annual meeting. And, all Company

shareholders will have the opportunity to elect directors for the Class III seats up for

election at the annual meeting and the Board vacancies so they can exercise their

control over the governance and direction of the Company.

   4) Plaintiffs Are Likely to Prevail on the Merits

      The activity the injunction seeks to restrain is actionable; in other words,

Plaintiffs are likely to succeed on the merits. This is true with respect to both the

Board Entrenchment Scheme and the Rigged Nomination Scheme.

          a. The Board Entrenchment Scheme and Rigged Nomination Scheme
             Are Illegal Infringements of the Shareholder Franchise.
      Both the Board Entrenchment Scheme and the Rigged Nomination Scheme are

blatant efforts to entrench the Director Defendants, infringe on Plaintiffs’ proxy

contest and prevent the Company’s shareholders from exercising their right to elect

directors of their choosing who oppose the direction taken by the current Board. They

are therefore invalid and Plaintiffs are likely to succeed on their claims.



                                          -40-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 42 of 60




       Again, the Jewelcor decision is instructive.         As this Court ruled, “[a]

corporation’s board of directors acts improperly when it manipulates a corporate

election to perpetuate its own control of the corporation.” Jewelcor, 60 Pa. D. &

C.4th at 399. Where, as here, a board’s action “amounts to little more than an effort

to maintain domination over [the company’s] operations,” the plaintiff’s right to

relief is clear. Id.

       Citing primarily Delaware law, the Jewelcor decision found “strong support,

albeit mostly from outside the Commonwealth, for granting injunctive relief where

a corporation or its directors interfere with the fair election of directors.” Id. at 401–

05 (citing Giuricich v. Emtrol Corp., 449 A.2d 232, 239 (Del. 1982) (“The courts of

this state will not allow the wrongful subversion of corporate democracy by

manipulation of the corporate machinery or by machinations under the cloak of

Delaware law”); Aprahamian, 531 A.2d at 1206–07 (“The corporate election

process, if it is to have any validity, must be conducted with scrupulous fairness and

without any advantage being conferred or denied to any candidate or slate of

candidates.”); Schnell v. Chris-Craft Industries, 285 A.2d 437, 439 (Del. 1971)

(reversing denial of injunction where board’s motivation in taking actions “was to

impede a dissident group of shareholders’ ability to wage a proxy fight over the

election of directors”—finding the board had “attempted to utilize the corporate

machinery and the Delaware Law for the purpose of perpetuating itself in office;


                                          -41-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 43 of 60




and, to that end, for the purpose of obstructing the legitimate efforts of dissident

stockholders in the exercise of their rights to undertake a proxy contest against

management. These are inequitable purposes, contrary to established principles of

corporate democracy . . . [and] may not be permitted to stand.”); Steinberg v.

American Bantam Car Co., 76 F. Supp. 426 (W.D. Pa. 1948) (issuing injunction

after repeated movement of meeting date by board); and Warehime, 777 A.2d at 480

(enjoining stock plan that served to entrench current board as improper even though

plan was not illegal—“[t]he directors’ actions were improper, not because of a

breach in duty to the corporation, but because of the principle of corporate

democracy, the core issue in the present remand, which bars actions otherwise

properly taken that are designed to undermine voting rights”)).

      In Jewelcor, the defendants argued that their actions could not be enjoined

because they were legal. Jewelcor, 60 Pa. D. & C.4th at 406. The Court was not

impressed, finding that “inequitable action does not become permissible simply

because it is legally possible.” Id. at 405 (quoting Schnell, 285 A.2d at 439). Here,

Defendants will likely point to bylaw provisions allowing the Board to set the

number of directors, set the nomination deadlines and reject director nominations.

Just as in Jewelcor, even if Defendants’ conduct were technically legal and not in

violation of the bylaws (which it is, as discussed below), that does not insulate the




                                        -42-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 44 of 60




Board’s actions where the intent and effect was clearly to entrench the Board and

undermine the shareholder franchise rights.

      In Jewelcor, this Court thus ruled that “tinkering with corporate elections to

interfere with shareholders’ electoral rights violates a director’s fiduciary duty to

shareholders and is enjoinable.” Id. at 401. It concluded that it had “no doubt” that

the board’s actions were “an intentional and improper infringement on [plaintiff’s]

rights as a shareholder to contest a Board election.” Id. at 406.

      The same is clearly true here, and this Court should likewise look to a factually

analogous decision by the Delaware Chancery Court for guidance. Again, Pell v.

Kill presents very similar facts, and the Delaware court determined that an injunction

precluding a board’s plan to reduce the number of board seats in the midst of a proxy

contest was warranted. 135 A.2d at 764, 769–70. In Pell, like here, to avert a proxy

contest that could have shifted the board majority from one faction to another, the

board reduced the number of seats up for election at the upcoming annual meeting.

Id. at 768. While the company’s bylaws permitted the board to alter the number of

board seats, the Delaware court found that the directors “still acted inequitably” and

that the plaintiff was likely to succeed on the merits of his voting rights claim. Id.

at 769.

      Emphasizing the importance of the shareholder franchise (just as under

Pennsylvania law), Vice Chancellor Laster wrote:


                                         -43-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 45 of 60




             Maintaining a proper balance in the allocation of power
             between the stockholders’ right to elect directors and the
             board of directors’ right to manage the corporation is
             dependent upon the stockholders’ unimpeded right to
             vote effectively in an election of directors.

Id. at 786 (quoting MM Cos. v. Liquid Audio, Inc., 813 A.2d 1118, 1126–27 (Del.

2003)) (emphasis added). The Pell court explained that Delaware courts “have

remained assiduous in carefully reviewing any board actions designed to interfere

with or impede the effective exercise of corporate democracy by shareholders,

especially in an election of directors.” Id. (quoting Liquid Audio, 813 A.2d at 1127).

      The court concluded that the directors’ plan to reduce the number of board

seats violated these core principles and that plaintiff was likely to succeed on the

merits of his claim: “in this case, the Defendant Directors acted in the face of an

anticipated proxy contest. ‘That defensive action by the [Defendant Directors]

compromised the essential role of corporate democracy in maintaining the proper

allocation of power between the shareholders and the Board, because that action was

taken in the context of a contested election for successor directors.’” Id. at 793

(quoting Liquid Audio, 813 A.2d at 1132). The court therefore found that “Pell has

established a reasonable probability of showing successfully that the Board

Reduction Plan is preclusive. Pell has therefore established a reasonable likelihood

of success on the merits on [his] claim . . . .” Id. at 789.




                                          -44-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 46 of 60




      Likewise, here, Plaintiffs have been engaged in a proxy contest for most of

this year, publicly announcing their disagreements with the Board’s actions and

stating their intent to support new independent directors rather than the Board’s

nominees. Plaintiffs have also requested a special shareholder meeting to fill the

two Board vacancies. In response, Defendants have delayed holding the 2022 annual

meeting where three Class III directors were up for election. Defendants have

repeatedly refused to schedule special shareholder meetings for the election of

directors, including to fill the two vacant Board seats. Defendants have paid off one

dissident shareholder, Driver, to obtain its silence and acquiescence to the Board’s

chosen director nominees. Defendants tried to induce Plaintiffs to sign a standstill

agreement, prohibiting them from nominating directors for election at the 2022

annual meeting. And, when none of Defendants’ delaying or cajoling worked to

stop Plaintiffs from proceeding with their proxy contest, Defendants adopted the

Board Entrenchment Scheme and Rigged Nomination Scheme to take the decision

out of the Plaintiffs’ hands. By eliminating two of the Board seats, Defendants

precluded Plaintiffs from nominating more than one director, effectively mooted the

primary purpose of Plaintiffs’ special shareholder meeting request and prevented the

Company’s shareholders from potentially replacing half of the eight member Board.

     Defendants further undermined Plaintiffs’ proxy contest by improperly

refuting (after repeatedly accepting) Mr. Norcross’ status as a record holder of


                                        -45-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 47 of 60




Republic First and imposing an unreasonable nomination deadline in bad faith in an

effort to preclude Plaintiffs from nominating director candidates at all. As discussed

above, under the Articles and bylaws, a beneficial owner of shares (rather than a

record holder) may nominate candidates for election as directors in compliance with

Rule 14a-8. Rule 14a-8 equates certain shareholders with beneficial ownership to

record holders—in particular, as relevant here, if the shareholder owns at least

$25,000 of stock for one year. 17 CFR § 240.14a-8(b)(i)(C). The statements from

Mr. Norcross’ broker, submitted multiple times to Defendants, as well as the

Schedule 13D statements filed with the SEC multiple times since January 2022,

showed that Mr. Norcross purchased 10,000 shares of Company stock (worth over

$25,000) on November 16, 2021. Thus, it appears clear, consistent with their other

entrenchment ploys, that Defendants set November 14, 2022, as the deadline for

nominations not for any valid reason but instead to foreclose Plaintiffs from

satisfying the one-year holding standard under Rule 14a-8 to make a nomination.

Defendants’ bad faith in setting that deadline for the improper purpose of frustrating

Plaintiffs’ Board nomination, and enabling the Company’s shareholders to evaluate

that nomination utterly refutes any attempt by Defendants to justify the deadline as

reasonable or necessitated by any valid corporate purpose.

      Defendants’ actions place an unreasonable burden on the shareholder

franchise—precluding the Company’s owners from being able to select the directors


                                        -46-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 48 of 60




who the shareholders determine are best aligned with their interests and will exercise

better judgment in overseeing the operations of the Company. In manipulating the

nomination process, Defendants have acted for the purpose of entrenchment and to

impermissibly interfere with the shareholder franchise, without any legitimate

justification for their actions.

      There can be no serious dispute that the Director Defendants’ actions here in

adopting the Board Entrenchment Scheme and Rigged Nomination Scheme are for

the specific purpose of foiling Plaintiffs’ proxy contest and the ability of the

Company’s shareholders to express their will by potentially installing up to four new

independent directors—half of the Board. As in Jewelcor and Pell v. Kill, the

Defendants’ Board Entrenchment Scheme and Rigged Nomination Scheme are

inequitable and designed to impinge on Plaintiffs’ proxy contest and the

shareholders’ voting rights. Plaintiffs’ are therefore likely to succeed on the merits

of their claims.

          b. The Board Entrenchment Scheme and Rigged Nomination Scheme
             Violate Pennsylvania Law and the Company’s Governing
             Documents.
      Even if the Board did not adopt the Board Entrenchment Scheme and Rigged

Nomination Scheme in bad faith with the specific intent to interfere with Plaintiff’s

franchise rights, Plaintiffs would still be likely to succeed on the merits because both

schemes violate Pennsylvania law and the Company’s governing documents.


                                         -47-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 49 of 60




      First, by eliminating the vacant Class I and Class III Board seats, Defendants

have rendered the director classes unequal (with one Class I director, three Class II

directors and two Class III directors). This is a clear violation of Pennsylvania law

(15 Pa. C.S. § 1724(b)) and of Article II Section 2 of the Company’s bylaws,

requiring that “[t]he Board of Directors shall be divided into three classes as nearly

equal as possible.”

      Second, the nomination period provided by Defendants does not meet the

standards under Pennsylvania law or the Company’s governing documents. Under

Rule 14a-8, incorporated into director nominations under the Company’s Articles

and bylaws, nominations must be submitted within a “reasonable time before the

company begins to print and send its proxy materials.” Similarly, 15 Pa. C.S.

§ 1758(e), entitled “Advance notice of nominations and other business,” provides

that companies must provide a “reasonable time” for shareholder proposals and

nominations. The explanatory notes to Section 1758 explain that advance notice

requires providing a “reasonable opportunity for shareholders to comply with them”

and that they be “reasonable in relationship to corporate needs.”

             Among the considerations to be taken into account in
             determining the reasonableness of an advance notice
             bylaw authorized by subsection (e) is whether the time
             frame within which director nominations or shareholder
             resolutions must be submitted is consistent with the
             corporation’s need, if any, to (i) prepare and publish a
             proxy statement, (ii) verify that a director nominee meets
             any established qualifications for director and is willing to
                                         -48-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 50 of 60




            serve, (iii) determine that a proposed resolution is a proper
            subject for shareholder action, and (iv) give interested
            parties adequate opportunity to communicate a
            recommendation or response with respect to such matters
            or to solicit proxies.

Id.

      Here, the Company’s November 14, 2022, deadline for nominations did not

provide a “reasonable opportunity for shareholders to comply with them.” As

discussed above, because of Defendants’ delays in reporting its 2022 financial

information, the November 14 deadline did not allow shareholders to make an

informed judgment about the performance of the Board and management— critical

information in determining whether to nominate other directors.             Moreover,

Defendants changed the landscape part way through the short nomination period by

announcing the reduction in the number of Board seats on November 7, 2022. Thus,

Plaintiffs and other shareholders lost the opportunity to nominate three Class III

directors as they understood for over a year would be up for election at the 2022

annual meeting, reducing to one week the time period for shareholders to consider

potential nominations.

      The deadline was also not consistent with any corporate need. The Company

had delayed scheduling the 2022 annual meeting for over six months. The January

26, 2023 meeting was over two months away from the nomination deadline.

Defendants’ only proffered excuse for setting the unreasonably short deadline was


                                        -49-
                                                                              Case ID: 221102195
                                                                            Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 51 of 60




the purported need to “print and sent its proxy materials for the 2022 Annual

Meeting.” This justification was at best pretextual, and at worse false. Over the past

five years, the Company has mailed its annual meeting proxy between 35 and 38

days before the scheduled meeting, meaning that the 2022 annual meeting proxy will

likely not be printed and mailed until December 19, 2022, at the earliest.

Furthermore, Defendants needed no time to determine if a director nominee meets

the qualifications and is willing to serve, as the nomination process set forth in the

Company’s governing documents requires any nominations to include those very

details for them to review. In addition, as evidenced by the timing of the Company’s

usual proxy filing (35 to 38 days before the meeting), it is clear that proxy advisor

firms and shareholders who may solicit proxies do not need more than a month in

advance of the January 23, 2023 meeting to analyze any proxy statements and

provide recommendations or responses.

     Under these circumstances, the nomination deadline was unreasonably short

as a matter of law. See Linton v. Everett, C.A. No. 15219, 1997 Del. Ch. LEXIS

117, at *29–30 (Del. Ch. July 31, 1997) (finding advance notice bylaw requiring

stockholders to make director nominations within ten days of mailing of meeting

notice inequitable where the corporation had not held an annual meeting in three

years because the only way stockholders could have participated in the highly




                                        -50-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 52 of 60




important election for control of the corporation was to have maintained a full slate

of directors ready to be nominated on a hair trigger).

         c. The Rigged Nomination Scheme Is Invalid for Additional Reasons.

     In addition to the blatant manipulation of the Board election for the purpose of

disrupting Plaintiffs’ proxy contest and infringing the shareholders’ right to elect

directors of their choosing, Defendants’ Rigged Nomination Scheme is invalid and

illegal on several additional grounds.

     Defendants lulled Plaintiffs into believing that Plaintiff Philip Norcross would

be treated as a record owner of Company stock through their repeated acceptance of

his status as one while having superior access to the Company’s official shareholder

lists. Again, the court appointed custodian, Mr. Putnam, challenged Plaintiff George

Norcross’s request for books and records on the grounds that only a record owner

was entitled to inspect the Company’s books and records. In response, Plaintiffs

revised the books and records demand to come from Philip Norcross and submitted

(to both Mr. Putnam and Defendant Jacobs) a statement from Mr. Norcross’ broker

that he was a record owner of 10,000 shares of Company stock. The Company

provided documents in response to that demand. Second, Philip Norcross submitted

(to Mr. Putnam and Defendant Jacobs) his nomination of Mr. Braca as a director

candidate for the special shareholder meeting ordered by the federal court, again

submitting his broker’s statement as evidence of his record ownership.           The


                                         -51-
                                                                            Case ID: 221102195
                                                                          Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 53 of 60




Company accepted the nomination and named Mr. Braca as a director candidate

before the special meeting was aborted. And, lastly, on October 25th in anticipation

of the annual meeting and the ability to solicit proxies, Plaintiffs submitted another

books and records demand to Defendants, again including Philip Norcross’

statement of record ownership as provided by his broker. The Defendants agreed to

provide documents in response to that demand subject to the entry of a

confidentiality agreement.

      Defendants waited until Plaintiffs nominated Plaintiff Braca as a director

candidate for election at the 2022 annual meeting before denying Mr. Norcross’s

status as a record owner. Even then, Defendants did not reveal their objection to Mr.

Norcross’s record ownership until two days after the deadline they set for submitting

nominations, denying Plaintiffs the opportunity to address the challenge before the

deadline.

      First, Defendants have waived their right to deny Mr. Norcross is a record

owner of Republic First shares by their prior conduct. Defendants have repeatedly

accepted Mr. Norcross’ broker statement as proof of record ownership (including

for the purpose of a prior director nomination) and acted in conformance with Mr.

Norcross being a record owner despite having access to the Company’s official share

registers. Elliot v. Lindquist, 52 A.2d 180 (Pa. 1947) is instructive. In that case, the

stockholders of a closely held company had sold, transferred, or assigned stock


                                         -52-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 54 of 60




without first giving the board notice and an opportunity to participate as required by

the company’s bylaws. Id. at 183. When plaintiffs objected to a similar stock sale

by defendants, the Pennsylvania Supreme Court rejected plaintiffs’ claim, finding

that plaintiffs had not complied with the bylaw provisions they complained were

contravened. Id. The Court concluded that the bylaws “constitute the contract

between the stockholders and are subject to the rules governing a written contract

signed by all the parties,” meaning they can be abandoned, modified, or changed by

words or conduct. Id. at 182 (citing Weldon & Kelly Co. v. Pavia Co., 354 Pa. 75,

79, 46 A. 2d 466 (Pa. 1946); Jacobs v. Wilkes-Barre Twp. School District, 355 Pa.

449, 453, 50 A.2d 354 (Pa. 1947)). Thus, the plaintiffs had waived the bylaw

provisions by declining to enforce them previously. Id. at 183. Similarly, in Golasa

v. Struse, this Court affirmed that “corporate bylaws amount to a contract among

shareholders” and individual provisions “may be waived by the conduct of parties

just as provisions of a contract.” 9 Pa. D. & C.3d at 53 (citing Hornsby v. Lohmeyer,

364 Pa. 271, 72 A. 2d 294 (Pa. 1950); Elliott, 52 A.2d at 180–83).               There,

shareholders failed to comply with bylaw provisions requiring payment for shares

before voting. Id. at 51. When the defendants rejected the plaintiff’s attempt to vote

based on his failure to pay for his shares, the court declined to “permit this provision

[of the bylaws] to be used to prevent plaintiff from voting” because defendants had

waived the provision by their own conduct. Id. at 53. The court held that plaintiff,


                                         -53-
                                                                               Case ID: 221102195
                                                                             Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 55 of 60




“[a]s a shareholder in a corporation where the payment requirement was waived . . .

had the right to vote,” and that any actions taken at the shareholder meeting where

plaintiff was denied the right to vote were null and void. Id. at 54. Here too,

Defendants’ repeated recognition of Mr. Norcross as a record holder waives any

effort by the Board to deny his record holder status in determining his eligibility to

nominate a director.

      Defendants are also estopped from denying Mr. Norcross’ record holder status.

Equitable estoppel “is applicable whenever a party, either by act or representation,

intentionally or negligently induces another to believe certain facts, and the other

justifiably relies and acts upon that belief.” DiFabio v. Star Appraisers, Inc., No.

2005-C-0712, 2007 Pa. Dist. & Cnty. Dec. LEXIS 308, at *41 (Lehigh Cty. C.P.

June 11, 2007) (citing Liberty Prop. Trust v. Day-Timers, Inc., 815 A.2d 1045, 1050

(Pa. Super. 2003)). To establish estoppel, a party must show: (i) it lacked knowledge

or the means of obtaining knowledge of the truth of the facts in question; (ii) it relied

on the conduct of the party against whom estoppel is claimed; and (iii) it suffered a

prejudicial change of position as a result of his reliance. Dousman v. Kobus, C.A.

No. 19258-NC, 2002 Del. Ch. LEXIS 67, at *17 (Del. Ch. June 6, 2002). Each

element is present in this case.

      Mr. Norcross believed he was a record holder based on the representations

from his broker and Defendants’ repeated acceptance of Mr. Norcross’ status as a


                                          -54-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 56 of 60




record holder and actions in conformity with that status. Defendants had sole access

to the official Company records showing the record holders of Company stock.3

Despite this, Defendants did not refute Mr. Norcross’s record ownership (and in fact

implicitly acknowledged it) in multiple prior dealings. Such conduct induced Mr.

Norcross to justifiably rely on his record ownership status.          Had Plaintiffs

understood that Mr. Norcross was not a record holder of Company stock, they could

have easily obtained record ownership of shares months ago or asked another record

holder to nominate Mr. Braca.        In sum, Mr. Norcross justifiably relied on

Defendants’ repeated recognition of his record holder status.        Defendants are

therefore estopped from denying it now.

         d. All of the Board’s Bad Faith Actions Are Void Due to the
            Participation of Defendant Duster, an Invalid Board Member.
      As discussed above, in July 2022, the Madonna Faction of the Board

appointed Defendant Duster as a director to fill the Board seat vacated by Mr.

Flocco’s death. Defendant Duster, however, was never properly appointed to the



3
        In response to Plaintiffs’ first books and records demand, Republic First
produced purported shareholder lists to Plaintiffs in early July, 2022. Norcross Decl.
¶ 11. The record shareholder list, however, appeared incomplete and inaccurate
since it identified exactly 100 record holders (and noted that 100 “accounts” had
been “selected” for the report). Shortly after Plaintiffs’ receipt of the shareholder
lists, the special shareholder meeting scheduled by the custodian was cancelled,
thereby mooting Plaintiffs immediate need for the shareholder list—to submit proxy
materials to their fellow shareholders—so Plaintiffs did not follow up on the report’s
apparent discrepancies at that time.
                                        -55-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
      Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 57 of 60




Board. Under Article II, Section 2 of the Company’s bylaws, a director “must be a

shareholder of the Corporation at the commencement of his term.” Defendant

Duster did not own any Company stock when he was appointed to the Board and,

indeed, as the Company confirmed in its Form 10-K filing on October 26, 2022,

Duster continued to lack any ownership of Company shares three months after his

term commenced. As such, Defendant Duster is not a valid director and the Board

has been improperly constituted since his appointment.

      Defendant Duster’s involvement in Board decisions (particularly the bad faith

decisions designed to entrench the Board and favor his “election” as a Class III

director at the delayed 2022 annual meeting) has tainted the Board’s corporate

governance process and rendered all of the Board’s actions, including the Board

Entrenchment Scheme and Rigged Nomination Scheme, void. See Linkerhof v. Del.

SPCA, No. 11-256-LPS, 2012 U.S. Dist. LEXIS 31896, at *11–12 (D. Del. Mar. 9,

2012) (citing Adams v. Calvarese Farms Maint. Corp., C.A. No. 4262-VCP, 2010

Del. Ch. LEXIS 199, at *30 (Del. Ch. Sep. 17, 2010)); Whitman v. Fuqua, 549 F.

Supp. 315, 323 (W.D. Pa. 1982) (noting that actions of an improperly constituted

board in breach of a legal or equitable duty to the corporation may be void). Further,

defendant Duster’s invalidity as a director renders his nomination by the Board as

an incumbent Class III director similarly illegitimate.




                                         -56-
                                                                             Case ID: 221102195
                                                                           Control No.: 22121214
       Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 58 of 60




       This too demonstrates that Plaintiffs are likely to succeed on the merits of their

claims to find the Defendants’ actions invalid.

   5) The injunction Is Reasonably Limited to Redress the Wrong

       The injunction sought by Plaintiffs is reasonably suited to abate the offending

activity.      Here, Plaintiffs ask only that the Court enjoin Defendants from

implementing the improper Board Entrenchment Scheme and Rigged Nomination

Scheme (or any similar defensive measure). The injunction will thus allow a fair

Board election where the shareholders will finally have their say in the proper

stewards of their business, rather than having directors foisted upon them by Board

appointment or have Board seats sit empty (depriving the Company of additional

insight and leadership it could gain from qualified directors with varying views and

skill sets).

       The injunction is therefore limited to preventing the Defendants’ improper

conduct but does not otherwise alter the governance of the Company or inhibit the

business of the annual meeting or Board elections.

   6) A Preliminary Injunction Will Not Adversely Affect the Public Interest
       The preliminary injunction will not adversely affect, but indeed will promote,

the public interest. There is no public interest in allowing directors of a Pennsylvania

corporation to manipulate the board election process or prevent shareholders from

exercising their rights to engage in a proxy contest. To the contrary, the public


                                          -57-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
            Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 59 of 60




     interest supports vindicating shareholders’ voting rights and preventing inequitable

     conduct and the violation of Pennsylvania corporate law. See, e.g., SEIU Healthcare

     Pa. v. Commonwealth, 104 A.3d 495, 509 (Pa. 2014) (“[W]hen the Legislature

     declares particular conduct to be unlawful, it is tantamount to categorizing it as

     injurious to the public.”).

           This Court should grant the requested injunction to uphold Plaintiffs’ most

     fundamental rights of ownership—their rights to nominate directors, engage in a

     proxy contest and vote as holders of Company stock.

V.         RELIEF REQUESTED

           For all the foregoing reasons, Plaintiffs respectfully request that this Court

     grant their Motion for Preliminary Injunction and enjoin Defendants from

     implementing the Board Entrenchment Scheme, the Rigged Nomination Scheme, or

     any similar measure that has the effect of impeding, thwarting, frustrating, or

     interfering with Plaintiffs’ proxy contest and the shareholders’ voting rights. The

     relief requested is detailed in the proposed order submitted herewith.




                                             -58-
                                                                                Case ID: 221102195
                                                                              Control No.: 22121214
    Case 2:22-cv-04953-BMS Document 5-7 Filed 12/19/22 Page 60 of 60




                                    Respectfully submitted,

Dated: December 5, 2022             /s/ Adrian R. King, Jr.
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                                  -59-
                                                                  Case ID: 221102195
                                                                Control No.: 22121214
